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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 EMANUAL DELACRUZ,
                                Plaintiff,
                                                                   21-CV-8193 (JPO)
                     -v-
                                                                         ORDER
 WICKED AUDIO,
                                Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement in principle of

this case. Accordingly, it is hereby ORDERED that this action is DISMISSED with prejudice

but with the right to reopen within forty-five days if the parties’ settlement agreement is not

consummated. All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: November 3, 2021
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
